 #1-07000/74539-RDT



                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

 CANAL INSURANCE COMPANY,                  )
                                           )
         Plaintiff,                        )
                                           )
 vs.                                       )      No. 3:13-cv-00447
                                           )
 MOORE FREIGHT SERVICES, INC.,             )
 PATTY C. WILSON, individually and         )
 as administrator of the ESTATE OF         )
 JERRY WILSON, TA OPERATING,               )
 LLC, EASTBRIDGE TRAILERS,                 )
 MANAC, INC., MANAC TRAILERS               )
 USA, INC., HENDRICKSON, USA,              )
 LLC, and BOLER COMPANY,                   )
                                           )
         Defendants.                       )
                                           )


                      PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT


         Plaintiff Canal Insurance Company, pursuant to Rule 56 of the Federal Rules of Civil

 Procedure, moves the Court for an Order Granting its Motion for Summary Judgment. In

 support of its motion, Plaintiff relies upon the Memorandum in Support of Motion for

 Summary Judgment and the Statement of                 Undisputed     Material   Facts   filed

 contemporaneously herewith as well as the entire record in this matter.

                                    Respectfully submitted,

                                    RAINEY, KIZER, REVIERE & BELL, P.L.C.

                                    By: __s/ R. Dale Thomas______________________
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                                CERTIFICATE OF SERVICE

         The undersigned certifies that a true copy of this pleading or document was served
 upon counsel for each of the parties by mailing postage prepaid or by delivery to the person
 or office of such counsel.

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         This the 5th day of November, 2014.

                                                  __s/ R. Dale Thomas_________



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